
USCA1 Opinion

	













                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT



                                 ____________________


        No. 96-1561

                              JUAN MOISES PEREZ-MENDEZ,

                                Petitioner, Appellant,

                                          v.

                              UNITED STATES OF AMERICA,

                                Respondent, Appellee.
                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                       [Hon. Mary M. Lisi, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
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                           Selya and Stahl, Circuit Judges.
                                            ______________

                                 ____________________

            Juan Moises Perez-Mendez on brief pro se.
            ________________________
            Sheldon Whitehouse,  United States Attorney,  Margaret E.  Curran,
            __________________                            ___________________
        Assistant U.S. Attorney, and James H. Leavey, Assistant U.S. Attorney,
                                     _______________
        on Appellee's Motion to  Dismiss For Failure to Obtain  Certificate of
        Appealability and To  Vacate the  Order Requiring Appellee  to File  A
        Brief.



                                 ____________________

                                  November 13, 1996
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                 Per Curiam.  Upon  careful review of petitioner's brief,
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            the  government's  motion  to  dismiss, and  the  record,  we

            conclude   that   the   district   court   correctly   denied

            petitioner's  motion.     For  the  reasons   stated  in  the

            magistrate judge's report and  recommendation, we agree  that

            petitioner  did   not  sustain   his  claim   of  ineffective

            assistance  of counsel during sentencing.   We add only these

            comments.

                 1.   The  government asserts that  this appeal should be

            dismissed  because   petitioner  has  failed   to  obtain   a

            certificate of  appealability as  required  under the  recent

            habeas  amendments,  the  Antiterrorism and  Effective  Death

            Penalty Act of 1996,  Pub. L. 104-132, 110 Stat.  1214 (April

            24, 1996).   There is some uncertainty  about the application

            of  those amendments  to  this proceeding,  but  we need  not

            resolve it here.  The result of this appeal would be the same

            under  any  analysis:    we  would  deny   a  certificate  of

            appealability were  one required, and we  also have concluded

            that  the  district court  order  should be  affirmed  on the

            merits.   Hence, we  do not address  the government's motion.

            See United  States v. Connell,  6 F.3d 27,  29 n.3 (1st  Cir.
            ___ ______________    _______

            1993) (forgoing resolution of a jurisdictional question where

            an uncomplicated  appeal is easily  resolved in favor  of the

            party challenging jurisdiction).  





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                 2.   For  the  first  time  in this  appeal,  petitioner

            contends that his attorney provided ineffective assistance by

            failing  to appeal  from the  sentencing court's  decision to

            accept certain facts stated in the presentence report.   That

            issue was not mentioned in petitioner's   2255 motion and was

            not  ruled  on by  the  district court,  and so  we  will not

            consider it.   See  United States   v. La  Guardia, 902  F.2d
                           ___  _____________      ___________

            1010, 1013 (1st Cir.  1990) (issues not raised below  will be

            considered on appeal only in exceptional cases). 

                 3.   Similarly,  we do  not  consider the  new affidavit

            attached to petitioner's brief,  because it was not presented

            to the district court.

                 For  the foregoing  reasons,  we need  not consider  the

            government's motion  to dismiss this  appeal and to  vacate a

            briefing order.

                 Affirmed.  See 1st Cir. Loc. R. 27.1.
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